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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

 INTERNATIONAL TRADE S.A.                        §
                                                 §
         Plaintiff                               §
                                                 §
 v.                                              §
                                                 §         C.A. NO.
 LA DARIEN NAVEGACION S.A., and                  §         IN ADMIRALTY, Rule 9(h)
 MARUGAME KISEN KAISHA LTD.,                     §
 in personam, and the M/V OCEAN                  §
 INNOVATION, her engines, tackle and             §
 apparel, in rem                                 §
                                                 §
         Defendants.                             §

                     PLAINTIFF’S ORIGINAL VERIFIED COMPLAINT

       COMES NOW Plaintiff, International Trade S.A. (“IT”), by its attorneys Royston, Rayzor,

Vickery & Williams, L.L.P., as and for its Verified Original Complaint against La Darien

Navegacion S.A. (“LDN”), Marugame Kisen Kaisha Ltd. (“MKK”) in personam, and the M/V

OCEAN INNOVATION (“Vessel”), in rem, and alleges as follows:

                                   JURISDICTION & VENUE

       1.      This is a case of admiralty and maritime jurisdiction under 28 U.S.C. § 1333, as

hereinafter more fully appears, and is an admiralty or maritime claim under Rule 9(h) of the

Federal Rules of Civil Procedure, and under Rule C of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions.

       2.      The court has in personam jurisdiction over LDN and MKK because they own,

operate, and manage vessels in Texas navigational waters and otherwise do business in Texas.

       3.      The court has in rem jurisdiction over the Vessel because the Vessel is now or will

be present within this District during this action.
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        4.       Venue is proper in this District under 28 U.S.C. § 1391(b).

                                              PARTIES

        5.       At all material times, Plaintiff International Trade S.A. was and is a foreign business

entity organized and existing under the laws of Belgium, with its principal place of business located

at 4, rue du Trône, 1000 Brussels, Belgium.

        6.       At all material times, Defendant La Darian Navegacion S.A. was and is a foreign

business entity organized and existing under the laws of Panama, with its principal place of

business located at Urbanizacion Marbella MMG Tower, 53rd Street,16th floor, Panama City,

Panama.

        7.       At all material times, Defendant Marugame Kisen Kaisha Ltd. was and is a foreign

business entity organized and existing under the laws of Japan, with its principal place of business

located at 2-45, Kora-cho 1-chome, Imabari-shi, Ehime-ken, 799-2111, Japan.

        8.       At all material times, Defendant M/V OCEAN INNOVATION was and is a

Panamanian-flagged ocean-going bulk carrier (IMO No. 9774329). LDN and MKK are both

registered owners of the M/V OCEAN INNOVATION.

                                                FACTS

        9.       Plaintiff IT is a metal processing company and global commodity trader.

        10.      On or about October 21, 2019, IT agreed to purchase a cargo of steel scrap

(“Cargo”) from Ascor UK Limited.

        11.      Steel scrap consists of a mix of mill scrap (stampings, cuttings, bars) industrial

scrap (nuts, bolts, miscellaneous scrap), railroad scrap (wheels, axles, parts of locomotives) and

wrought iron. To ensure quality, the scrap must be free of impurities such as non-metallic, non-




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ferrous metals, excessive dirt, grease, and oil. The scrap is traded around the world, and eventually

processed, refined, and recycled.

         12.      The purchase contract caps the level of allowable impurities in the Cargo at 1%.

The purchase contract is attached as Exhibit 1.

         13.      On or about November 16, 2019, 25,200mt of Cargo was loaded onto the Vessel in

St. Petersburg, Russia.

         14.      Two separate surveyors attending the loading and issued reports detailing impurity

levels ranging from 0.75-0.95%—within the contractually acceptable range. The surveyor reports

from the loading are attached as Exhibit 2 and Exhibit 3.

         15.      The mate’s receipt and clean bill of lading 1 both state the cargo was “clean on

board” and in “apparent good order.” The mate’s receipt and bill of lading are attached as Exhibit

4 and Exhibit 5, respectively.

         16.      The Vessel loaded no other cargo and proceeded directly to the discharge port of

Tsingeli, Greece. The Vessel arrived on or about December 9, 2019 and commenced discharging.

         17.      During discharge, it became clear the impurity levels were much higher than 1%.

The Cargo was not in “apparent good order” and did not comply with the descriptions in the bill

of lading and mate’s receipt.

         18.      Two separate surveyors attended the discharge and issued reports detailing impurity

levels ranging from 9.29-10.50%—ten times the contractually acceptable range. The surveyor

reports from the discharge are attached as Exhibit 6 and Exhibit 7.




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  A clean bill of lading contains no superimposed clause specifying any defect to the cargo or its packing, confirming
that the cargo has been received by the ship in apparent good order and condition. PETER BRODIE, DICTIONARY OF
SHIPPING TERMS 68 (6th ed. 2013).


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         19.     One surveyor noted “excessive impurities were present in all holds, loaded in layers

throughout almost the entire cargo.” The other surveyor remarked “[p]art of this impurity is

dust/dirt and bottom filling parts…[b]ut, the rest [sic] impurity which, majority of 9,29% of [sic]

whole impurity was FLUE DUST.”

         20.     As a result, about 10% or 2,500mt of the Cargo was flue dust, dirt, and other

impurities, rather than the steel scrap that was purchased.

                                     RULE C ALLEGATIONS

         21.     When cargo has been stowed on board the vessel and bills of lading are issued, the

bills of lading become binding contracts on the vessel in rem upon the sailing of the vessel with

the cargo. The sailing of the vessel constitutes a ratification of the bills of lading and creates a

maritime lien which is the basis of the in rem recovery. Cactus Pipe & Supply Co. v. M/V

MONTMARTRE, 756 F.2d 1103, 1113 (5th Cir.1985)

         22.     The Vessel and defendants LDN and MKK breached, failed, and violated their

duties and obligations as common carriers and were otherwise at fault. LDN and MKK managed,

owned, or otherwise controlled the Vessel which now is, or will be, within the jurisdiction of this

Court.

         23.     Plaintiff also alleges, in the alternative and without waiving the above cause of

action, that all defendants were bailees of Plaintiff’s cargo. Defendants delivered the cargo in a

damaged and off-specification condition. Defendants breached their duties and obligations as

bailees and were negligent.

         24.     Because of the Defendants’ damage to the Cargo, Plaintiff has a right to arrest the

Vessel to enforce its maritime lien.




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        25.      Plaintiff requests that the Court permit service of the Vessel in rem while she is in

port in Brownsville, Texas.

                                          ARBITRATION

        26.      This action is also in aid of arbitration. Plaintiff intends to commence arbitration

under Section 1 of the bill of lading, which incorporates by reference the Law and Arbitration

Clause contained within the Charter Party. The Law and Arbitration Clause likely provides for

English law and calls for arbitration in London.

        27.      Plaintiff seeks to obtain security in aid of such arbitration under 9 U.SC. §§ 8, 201-

08, by the arrest of the M/V OCEAN INNOVATION according to the usual course of admiralty

proceedings, and seeks to obtain security for its entire claim, plus interest, costs, and attorney’s

fees by arresting the Vessel. E.A.S.T., Inc. of Stamford, Conn. v. M/V Alaia, 876 F.2d 1168, 1173

(5th Cir. 1989).

                                             DAMAGES

        28.      As a direct result of the Defendants’ negligent acts, Plaintiff experienced at least

$1,553,103.15 in damages, including economic losses, damages, lost revenue, surveyor fees, and

legal fees:

                 a.     The market value of the Cargo at the discharge port was $294.51/mt.
                        Considering a .75% impurity allowance, about 2,457mt of Cargo was
                        impacted, leading to economic losses of $723,611.

                 b.     The impurities caused $169,676 of damages to the production process.

                 c.     The impurities also caused $342,077.58 of lost revenue based on the
                        reduced production output.

                 d.     Plaintiff was also forced to spend $17,738.57 in surveyor fees.

                 e.     Finally, Plaintiff expects to spend no less than $300,000 in legal fees.




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                          INDEMNITY IN FAVOR OF U.S. MARSHAL

        29.      Plaintiff IT agrees to hold harmless and indemnify the U.S. Marshal and all of his

deputies from any and all liability as a result of arresting the M/V OCEAN INNOVATION.

                                   CONDITIONS PRECEDENT

        30.      All conditions precedent have been performed.

        31.      All and singular, the premises of this Verified Complaint are true and correct and

within the admiralty and maritime jurisdiction of the United States and this Honorable Court.

                                               PRAYER

        WHEREFORE, Plaintiff prays:

        a.       Plaintiff demands recovery from all defendants, jointly and severally; and

        b.       That Plaintiff have judgment hereon in the amount of $1,553,103.15, any liquidated

                 damages potentially available, attorney’s fees and costs; and

        c.       That process in rem under Rule C of the Supplemental Rules for Certain Admiralty

                 and Maritime Claims be issued against Defendant M/V OCEAN INNOVATION,

                 her engines, boilers, tackle, etc., placing the Vessel under the arrest, custody, and

                 control of the Marshal of this District;

        d.       That the Defendant M/V OCEAN INNOVATION, her engines, tackle, apparel,

                 furniture, and equipment and all other appurtenances and additions, improvements,

                 and replacements belonging to it, be condemned and sold to pay the demands and

                 claims aforesaid with interest, attorney’s fees and costs, and custodia legis costs

                 due Plaintiff as alleged above;

        e.       After the arrest of the Defendant M/V OCEAN INNOVATION, her engines, tackle,

                 apparel, furniture and all other appurtenance and additions, improvements, and




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                 replacements under the Warrant to Seize the Vessel and the sale of the Vessel under

                 the direction of this Court and the deposit of the sale proceeds into the registry of

                 the Court, Plaintiff requests that this action be stayed in favor of arbitration under

                 the bill of lading and applicable Charter Party provision, with this Honorable Court

                 retaining jurisdiction to enforce any subsequent award issued in the arbitration

                 against such property or sale proceeds.

        f.       Plaintiff agrees to release and hold harmless, and indemnify the United States of

                 America, the United States Marshal, their agents, servants, employees, and all

                 others for whom they are responsible, from all liability or responsibility for claims

                 arising from the arrest of the Vessel.

        g.       That Plaintiff may have such other, further and different relief as the Court deems

                 just and proper.

                                        Respectfully submitted,

                                        By: /s/ James H. Hunter, Jr.
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